                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 JOHN P. HASSLER,                                 )
                                                  )
                Petitioner,                       )
                                                  )
 v.                                               )   No.     1:07-CR-146-CLC-SKL-6
                                                  )           1:16-CV-244-CLC
 UNITED STATES OF AMERICA,                        )
                                                  )
                Respondent.                       )


                                  MEMORANDUM OPINION

        Federal prisoner John P. Hassler filed a motion to vacate, set aside, or correct sentence

 pursuant to 28 U.S.C. § 2255 on October 19, 2009 [Doc. 420 (sealed)].1 The Court denied relief,

 concluding that the seventeen claims of ineffective assistance and various freestanding claims

 presented in the motion lacked merit and/or were barred by provisions in the plea agreement

 [Docs. 561-562]. Petitioner appealed to the United States Court of Appeals for the Sixth Circuit,

 which reviewed this Court’s decision on the preserved claims, declined to issue a Certificate of

 Appealability, and denied his subsequent petition for a rehearing [Docs. 584, 586]. Now before

 the Court is what Petitioner has labeled as a “Motion for Sentence Reduction and Vacatur of 18

 U.S.C. § 922(g)(1) Pursuant to 28 U.S.C. § 2255 – Johnson Claim” [Doc. 642]. After a review

 of Petitioner’s submission, the Court finds that he intended it to be a successive § 2255 motion.

        Under the “Antiterrorism and Effective Death Penalty Act of 1996,” Petitioner cannot file

 a second or successive § 2255 petition in this Court until he has moved in the Sixth Circuit for an




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        Each document will be identified by the Court File Number assigned to it in the
 underlying criminal case, No. 1:07-CR-146-CLC-SKL.


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 order authorizing the Court to consider the motion. 28 U.S.C. § 2255(h). No such order has

 been received by the Court.

        Accordingly, the Clerk will be DIRECTED to TRANSFER the filing [Doc. 642] to the

 Sixth Circuit pursuant to 28 U.S.C. § 1631. See In re Sims, 111 F.3d 45 (6th Cir. 1997).

        An appropriate order will enter.



                                             /s/
                                             CURTIS L. COLLIER
                                             UNITED STATES DISTRICT JUDGE




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